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BART M. DAVIS, IDAHO STATE BAR NO. 2696
LTNITED STATES ATTORNEY
DARCI WARD CRANE, IDAHO STATE BAR NO. 8852
CHRISTOPHER S. ATWOOD, IDAHO STATE BAR NO. 7013
ASSISTANTS UNITED STATES ATTORNEY
DISTRICT OF IDAHO
WASHINGTON GROUP PLAZA IV
8OO EAST PARK BOULEVARD, SUITE 600
BOISE, ID 83712-7788
TELEPHONE: (208) 33 4- 121 1
PACSIMILE: Q08) 33 4-t 413




                         LINITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO

LINITED STATES OF AMERICA,
                                        Case No.   4:19-cr-248-BLW
            Plaintifi
                                        RULE 11 PLEA AGREEMENT
      vs,

TEMP RAY PATTERSON, MD,

            Defendant.




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 I.        GUILTYPLEA

           A,     Summary of Terms, Pursuant to Federal Rule of Criminal Procedure 1l(c)(l)(B),

the defendant, the attomey for the defendant, and the govemmentl agree that the defendant              will

waive indictment and plead guilty to count One ofthe Information, which charges the defendant

with Receipt and Delivery of Misbranded Devices, a felony violation of 2l U.S.C. gg 331(c) and

333{a)(2).

          This plea is voluntary and did not result from force, threats, or promises, other than any

promise made in this agreement. Upon acceptance of the defendant's guitty plea(s), and the

defendant's full compliance with the other terms of this agreement, the govemment, under

Federal Rules of Criminal Procedure l1(c)(1)(B),        will recommend   a sentence within the agreed

upon, applicable sentencing guideline range Under Federal Rule of Criminal Procedure

I    l(c)(l)(A), the govemment   agrees to not bring any additional criminal charges against the

defendant based on conduct or allegations presently known to the Government.

          B.      Oath. The defendant will    be placed under oath at the plea hearing, The

govemment may use any statement that the defendant makes under oath against the defendant in a

prosecution for perjury or false statement.

II.       WATVER OF CONSTITUTIONAL RIGIITS AT TRIAL

          The defendant waives the following rights by pleading guilty pursuant to this agreement:

l)   the right to plead not guilty to the offense(s) charged against the defendant and to p€rsist in that

plea; 2) the right to a trial byjury, at which the defendant would be presumed innocent and the

burden would be on the government to prove the defendant's guilt beyond a reasonable doubt;3)

the right to have the   jury agree unanimously that the defendant was guilty ofthe offense; 4) the


         I The word "Govemment' in this Agreement refers to the United States Attomey
                                                                                      for the
District of ldaho.

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right, at trial, to conliont and cross-examine adverse witnesses; 5) the right to present evidence

and to compel the attendance ofwitnesses; and 6) the right not to testiry or present evidence

without having that held against the defendant. Ifthe court accepts the defendant's guilty plea,

there   will   be no trial.

I[.       NATURE OF THE CHARGES

         A.         Elements of the Crime. The elements of the crime of Receipt and Delivery                  of

Misbranded Devices, a felony violation          of2l   U.S.C. $$ 331(c) and   333   (a)Q), as charged in count

One, are as follows:

                    l.        The defendant received devices, as defined in 21 U.S.C. $ 321(h) (breast

                              implants), in interstate oommerce;

                    2.        Those devices were misbranded in one or more ways;

                    3.        The defendant delivered or proffered the delivery ofthose misbranded

                              devices for pay or otherwise; and

                    4.        The defendant did and caused these acts with the intent to mislead.

         B.         Factual Basis. If this matter were to proceed to trial, the govemment and the

defendant agree that the following facts would be proven beyond a reasonable doubt:

         From on or about March 2014 through April 2015, in the District ofldaho, the defendant

knowingly received and implanted in patients nine pairs ofmisbranded breast implants that were

not approved by the Food and Drug Administration             ("FDA"). The breast implarts were shipped

to the defendant in interstate commerce from China to Idaho. Breast implants werd Class                 III
medical devices under the Food, Drug and Cosmetic Act              ("FDCA"). As      such, they require an

approved premarket approval application ("PMA") before they can be marketed or they must

meet one of the listed exceptions. ,9ee       2l   C.F,R. $ 814.1. The breast implants the defendant




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received did not have a PMA and did not meet a listed exception. The nine pairs of breast

implants were misbranded devices.

         The FDCA required the labeling for devices to contain adequate directions for use.              2l

U.S.C.   S   352(0. "Adequate directions for   use means directions under which the la).rnan can use a

device safely and for the purposes for which it is intended."    2l   C.F.R. g 801.5. It was impossible

to write adequate directions for use for the breast implants the defendant received because they

are Class    III prescription devices and such devices can, by definition, only   be used safely at the

direction, and under the supervision, ofa licensed practitioner. FDA-approved devices with their

approved labeling are exempt from having adequate directions for use by a layperson under

specific circumstances. 21 C.F.R.$801.109. But unapproved prescription devices that do not

meet all the conditions for an exemption from the requirement of having adequate directions for

use are by law per se misbranded. Therefore, the breast implants received by the defendant were


not approved by the FDA and were misbranded beoause, among other things, they did not have

adequate directions for use. The defendant knew the breast implants were not FDA approved.

         The defendant delivered and proffered for delivery the misbranded devices with the intent

to mislead. The defendant provided his breast augmentation patients with labeling for FDA-

approved breast implants including brochures, handouts, pre-operative worksheets, and sample

sizers. The provided labeling misled his patients into believing that they would receive FDA-

approved implants, when they did not. For example, on or about February 27,2015, the

defendant implanted one ofthe misbranded pairs of breast implants he received from China in

patient C.S. Prior to the augmentation surgery and afterwards, the defendant provided C.S. with

labeling for FDA-approved implants, telling her that she received a certain brand ofFDA-

approved implants. To support this, the defendant sent C.S. emails with pictures ofthe boxes and

serial numbers of FDA-approved implants, falsely olaiming that was what he implanted in her


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body. In addition, the defendant changed C.S,'s medical records to show that she reoeived a

different size implant than was actually used. The defendant changed the size to match the sizing

ofthe FDA-approved implants he told C.S. he used, The defendant acted with the intent to

mislead C.S. to believe she received FDA-approved breast implants, when she did not.

        The defendant charged the nine patients a totat of$34,875 for the breast augmentation

surgeries he performed,

tV.     SENTENCINGF'ACTORS

        A.       Penalties. Aviolation of 21 U.S.C. $$331(c)and333(a)(2),and l8U.S.C. g2,as

charged in count One, is punishable by:

                 l.      a term of imprisonment    of3 years;

                 2.      a term of supervised release    ofnot more than I year;

                 3.      a term   ofprobation up to 5 years; and

                 4.      a maximum fine of$250,000, and a special assessment            of$100.

       B.        Supervised Release. The court may impose a period ofsupervised release. No

agreement exists as to the length ofsupervised release.

       The law permits the combined prison time and term ofsupervised release to exceed the

maximum term ofincarseration for the crime(s) to which the defendant is pleading guilty.

Violation of any condition ofsupervised release may result in further penalties and/or

prosecution.

       C.        Fines and Costs. The court may impose a fine. No agreement exists              as   to the

amount of the fine. The court may also order the defendant to pay the costs of imprisonment,

probation, and supervised release.

       D.        Special Assessment. The defendant will pay the special assessment before

sentencing and   will furnish a receipt   at sentencing. Payment   will   be made to:


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                  The United States Dishict Court, Clerk's Office
                  Federal Building and United States Coufthouse
                  550 West Fort Street, Fourth Floor
                  Boise, Idaho 83724.

           E.     Restitution. In addilion to any forfeiture, fine, or costs imposed, the defendant

agrees to pay restitution equal to the loss caused to any uncomp€nsated       victim. The parties        agree

the restitution obligation in this case is equal to $8,200, which represents the amount owed to

A.U. and which tbe defendant agrees to pay at or prior to his plea hearing. The defendant agrees

that all monetary penalties imposed by the court, including restitution,     will   be due immediately

and subject to immediate enforcement by the government. The defendant agrees that any

payment schedule or plan set by the court is merely a minimum schedule ofpayments and neither

the only method, nor a limitation on the methods, available to the govemment to enforce the

judgment, unless the court specifically states otherwise, The defendant is aware that voluntary

payment ofrestitution prior to adjudication     ofguilt is a factor in considering whether the

defendant has accepted responsibility under the United States sentencing guidelines ("USSG")

$3E I .1. The defendant agrees to deliver a certified check or money order to the clerk        ofthe court

in the amount of $8,200, payable to the "Clerk, U.S. District Court," to be deposited into the court

registry until the date ofsentencing and, thereafter, to be applied to satisfi (wholly or partially

depending on the amount oithe judgment) flnes, costs, assessments, and restitution, pursuant to

the judgment of the court.


V.        ABANDONMENT AND WAIVER REGARDING SEIZED PROPERTY

          For any propefty not forfeited, the Defendant abandons, releases, and waives any interest,

now or in the fi.lture, to property seized or otherwise obtained bythe government or law

enforcement in this case unless specific exceptions are noted in this Agreement. Such property

will   be disposed o{, destroyed, sold, forfeited, or transflerred, in the govemment's sole discretion.

Such disposition shall not constitute satisfaction ofany assessment, fine, restitution, forfeiture,

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cost of imprisonment, or any other penalty that this Cou( may impose. This includes property

seized from the defendant's home and oIlice in accordance with a search warrant executed on

July 19, 2016, including, but not limited to:

        a.     Breast implants, sizers, labeling. and promotional materials;

        b.     Expired medical products;

       c.      Dermapen devices, needles, and vials;

       d.      Counterfeit and/or foreign-unapproved drugs or medical devices.

VI,    UNITED STATES SENTENCING GIJIDELINES

       A.      Application of Sentencing Guidelines. The court must consider the USSG in

determining an appropriate sentence under I 8 U.S.C. $ 3553. The defendant agrees that the court

may consider "relevant conduct" in determining a sentence pursuant to USSG $ 181.3.

       The court is not a party to this agreement. The agreement does not bind the court's

determination ofthe USSG range. The court will identift the factors that will determine the

sentencing range under the USSG. While the court may take the defendant's cooperation, ifany,

and the recommendations   ofthe parties into account, the court has complete discretion to impose

any lawful sentence, including the maximum sentenoe possible.

       Recognizing that the court is not bound by this agreement, the padies agree to the

recommendations and requests set forth below.

       B.      Sentencing Guidelines Recommendations and Requests.

               I   .   Government's Statements at Sentencing. The govemment reserves the

right to fully allocute at sentencing regarding any sentencing recommendation and to rely on any




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information in support of its recommendation regardless ofv/hether the information is contained

in the plea a$eement or the presentence report.

                2.          Acceptance of Responsibility, Ifthe defendant clearly accepts

responsibility for the offense, the defendant will be entitled to a reduction of two levels in the

combined adjusted offense level, under USSG $ 3E1.I(a). The govemment             will move foran

additional one-level reduction in the combined offense level under $ 3El.l(b) ifthe following

conditions are met:   (l)   the defendant qualifies for a decrease under $ 3E1.1(a); (2) the offense is

level l6 or greater; ard (3) the defendant has timely notified authorities ofthe defendant's

intention to enter a plea ofguilty, thereby permitting the government to avoid preparing for trial

and permitting the court to allocate its resources    efficiently. If, before sentence is imposed, the

defendant fails to meet the criteria set out in USSG $ 3E1.1, or acts in a manner inconsistent with

acceptance ofresponsibility, the govemment        will withdraw or decline to make such a

recommendation.

               3.       Amount ofLoss. The parties agree that the amount ofloss is $34,875.

               4.       Downward Departure or Variance Requ€st by Defendant, Unless

otherwise specified in this paragraph, the defendant     will not seek a variance under   18 U.S.C. $

3553(a), without first notirying the Govemment ofthe defendant's intent to seek a varianoe and

the defendant's reasons and basis therefor, such notice to be provided not less than      2l   days before

the date set for sentencing. As set forth below in Section B.5, the defendant    will not   seek a

guideline-based departure.

               5.       Stipulated Offense Level Calculations. Provided that the defendant

pleads guilty and accepts responsibility as described herein, the govemment agrees that the

following sentencing calculation under the United States Sentencing Guidelines applies and

agrees to recommend a sentence       within this guideline calculation.


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                         a         The base offense level is six (6) pursuant to USSG g 28l.l(a)(2);

                         b         A four (4) level increase is appropriate, per USSG 0 281.1(b)(l) for

the loss amount;

                         c.        A two (2) level increase is appropriate, per USSG g 38.1.3 for

abuse   ofa position of trust;

                         d.        A two (2) level decrease is appropriate, per USSG g 3E1.1(a) for

acceptance of responsibility;

                         e.        The total adjusted offense level is ten   (i0).

The defendant agrees with the above-stated guideline calculation and further agrees not to move

for, or argue for, any other guideline-based departure to reduce the offense level from the above-

stated guideline calculation, unless the District Court's guideline range is greater than the above-

stated guideline calcualtion. The defendant is liee to argue for a non-guideline based variance

pursuant to the factors in I 8 U.S.C. $ 3553. The parties recognize that the pre-sentence

investigator and the Court are not bound by this guideline calculation.

VII.    WAIVER OF RIGIIT TO DIRECT APPEAL AND TO COLLATTRAL ATTACK
        UNDER 28 U.S.C.          S 2255

        A.      Waiver: In exchange for this agreement, and except as provided in subparagraph

B, the defendant waives any right to appeal or collaterally attack the entry ofplea, the conviction,

the entry ofjudgment, and the sentence, including forfeiture and restitution. The waiver           ofthe

challenge to the conviction includes challenges to the constitutionality of any statute ofconviction

and arguments that the admitted conduct does not fall within any statute ofconviction.

        The defendant acknowledges that this waiver shall result in the dismissal of any direct

appeal or collateral attack the defendant might file seeking to challenge the plea, conviction or

sentence in this case. Further, the       filing ofsuch an appeal or collateral attaok will breach this



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agreement and   will allow the government to withdraw from         the agreement and take other

remedial action.

        Ifthe defendant believes the govemment        has not   fulfilled its obligations under this

agreement, the defendant     will object   at the time ofsentencing; further objections are waived.

        B.      Exceptions:

                1   .   Direct Appeal: Notwithstanding subparagraph A, the defendant shall

retain the right to file one direct appeal ifone ofthe following unusual circumstances occurs:

                        a.       the sentence imposed by the court exceeds the statutory maximum;

                        b.       the court arrived at an advisory USSG range by applying an
                                 upward departure under chapter 5K ofthe USSG; or

                        c.       the court exercised its discretion under 18 U.S.C. $ 3553(a) to
                                 impose a sentence that exceeds the advisory USSG range as
                                 determined by the court.

        The defendant understands that the above circumstances occur rarely and that in most

cases this agreement completely waives all appellate rights.

                2.      Motion Under 28 U.S.C.        $   2255: Notwithstanding subparagraph A, the

defendant shall retain the right to file a 28 U.S.C. $ 2255 motion alleging ineffective assistance             of

counsel.

VIII.   PRO\IDING INFORMATION FOR THE PRESENTENCE REPORT

        The defendant agrees to provide material financial and other information requested by a

representative ofthe United States probation office for use in preparing a presentence report.

Failure to execute releases and provide information for the presentence report violates this

agreement and relieves the government of its obligations in this agreement. Such failure and

response by the government     will not, however, constitute grounds for withdrawing the plea of

guilty unless the govemment so requests. Providing materially false information will subject the

defendant to additional penalties, including an enhancement under USSG $ 3C1.1.

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IX.       DISCLOSINGFINANCIALINFORMATION

          The defendant agrees to disclose all ofthe defendant's assets and sources of income to the

govemment, including all assets over which the defendant exercises or exercised direct or indirect

control, or in which the defendant has had any financial interest. The defendant also agrees to

cooperate in obtaining any records relating to ownership ofassets when sought by the

govemment. The defendant agrees truthfully to complete a personal finanoial statement within

fourteen days from the date the defendant signs this agreement.      Ifthe govemment provides           a


financial statement to be completed, the defendant agrees to complete the financial statement

truthfully and accurately within fourteen days from the date the defendant signs this agreement or

the date the financial statement is pfovided to the defendant orcounsel, whichever is later. The

defendant agrees to provide updates with any material changes in circumstances, as described in

18 U.S.C. $ 3664(k) within seven days of the event giving rise to the changed circumstances. The

failure timely and accurately to complete, sign, and update the financial statements as required

herein, may constitute failure to accept responsibility under USSG $ 381 .1, as well as other

things.

          The defendant authorizes the govemment: (a) to obtain a credit report on the defendant;

(b) to inspect and copy all financial documents and information held by the United States

probation office; and (c) to obtain financial records related to the defendant.

          Before sentencing, defendant agrees nol to dissipate any assets without the consent ofboth

the govemment's financial litigation unit and the asset forfeiture   unit. If   any assets are sold, any

sale proceeds received from sale ofassets   will   be deposited with the clerk and, upon sentencing,

paid toward any monetary penalties due as ordered in thejudgment.




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X.      NO RIGHT TO WITHDRAW PLEA

        The defendant undorstands that the oourt may not follow the recommendations or requests

made by the parties at the time of sentencing. The defendant cannot withdraw from this

agreement or the guilty ple4 regardless ofthe court's actions.

XI.     CONSEQUENCES OF VIOLATING AGREEMENT

        A.      Government's Options. If the defendant fails to keep any promise in this

agreement or commits a new crime, the govemment is relieved of any obligation: 1) to make a

sentencing recommendation consistent with the terms promised in this agreement; and 2) not to

prosecute the defendant on other charges, including charges not pursued due to this agreement.

Such charges may be brought without prior notice, In addition,     if   the government determines

after sentence is imposed that the defendant's breach ofthe agreement warrants further

prosecution, the govemment may choose between letting the conviction(s) under this agreement

stand or vacating such conviction(s) so that such charge(s) may be re-prosecuted.      Ifthe

govemment determines that a breach warrants prosecution before sentencing, it may withdraw

from the agreement in its entirety.

        The government's election to pursue any ofthe above options cannot be a basis for the

defendant to withdraw the guilty plea(s) made pursuant to this agreement,

        B.     Defendant's Waiver of Rights. If the defendant fails to keep any promise made

in this agreement, the defendant gives up the right not to be placed twice in jeopardy for the

offense(s) to which the defendant entered a plea   ofguilty or which were dismissed under this

agreement. In addition, for any charge that is brought as a result ofthe defendant's failure to keep

this agreement, the defendant gives up: (1) any right under the Constitution and laws ofthe

United States to be charged or tried in a more speedy manner; and (2) the right to be charged

within the applicable statute of limitations period ifthe statute of limitations has expired.


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        Fudhennore, if the defendant does not enter an acceptable plea, the govemment will move

to continue the trial now set to allow the govemment adequate time to prepare. The defendant

agrees not to contest such a continuance, and agrees that the resulting delay would be excludable

time under 18 U.S.C. $ 3161(h).

XII.   MISCELLANEOUS

       A.      No Other Terms. This agreement is the complete understanding between the

parties, and no other promises have been made by the govemment to the defendant or to the

attomey for the defendant. This agreement does not prevent any governmental agency from

pursuing civil or administrative actions against the defendant or any property. Unless an

exception to this paragraph is explicitly set forth elsewhere in this document, this agreement does

not bind or obligate governmental entities other than that specified as the govemment in this

agreement (i.e., the United States Attomey's Office for the District of Idaho). The govemment

will bring the defendant's cooperation   and pleas to the attention ofother prosecuting authorities at

the request ofthe defendant or defense counsel.

       B.      Plea Agreement Acceptance Deadline, This plea offer is explicitly conditioned

on the defendant's notification ofacceptance   ofthis agreement no later than 5:00 p.m. on August

9,2019.

       C.      Risk of Removal from the United States. The defendant recognizes that

pleading guilty may have consequences with respect to the defendant's immigration status                ifthe

defendant is not a citizen ofthe United States. Under federal law, a broad range of crimes are

removable offenses, including the offense to which the defendant is pleading          guilty. Removal

and other immigration consequences are the subject          ofa   separate proceeding, however. While

arguments may be made in such a proceeding,      it   is   virtually certain that defendant will be




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removed fiom the United States. The defendant nevertheless affrrms that the defendant wants to

plead guilty.

XIII.   UNITEDSTATES'APPROVAL

        I have reviewed this matter and the agreement, This agreernent constitutes a formal plea

offer from the govemment. Any oral discussions with the defendant and defense counsel about a

plea do not constitute a plea   offer. Any written offer or agreement made before this agreement is

no longer a valid offer by the govemment and is rescinded. I agree on behalfofthe United States

that the terms and conditions set forth above are appropriate and are in the best interests ofjustice.

BARTM. DAVIS
UNITED STATES ATTORNEY
By:




                 C"r,                                                g
     CI WARD CRANE                                          Date
Assistant United States Attomey

XIV.    ACCEPTANCE BY DEFENDANT AND COUNSEL

        I have read and carefully reviewed every part of this agre€ment with my attomey- I

understand the agreement and iis effect upon my potential sentence. Furthermore, I have

discussed all of my rights with my attomey and I understand those rights. No other promises or

inducements have been made to me, directly or indirectly, by any agent ofthe govemment,

including any Assistant United States Attomey, conceming the plea to be entered in this case. I

understand that this agreement constitutes a formal plea offer from the govemment. Any oral

discussions between the govemment and me or my counsel about a plea do not constitute a plea

offer. Any written offer or agreement made before this agreement is no longer     a valid   offer by the

govemment and is rescinded. In addition, no one has threatened or coerced me to do, or to reffain

from doing, anything in connection with this case, including enter a guilty plea. I understand that,

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ifI    am not a citizen or naturalized citizen   ofthe United States, by pleading guilty in this case it is

virtually certain that I will be removed from the United States. I am satisfied with my attomey's

advice and representation in this case.



                                                                         81712019
TEMP RA         PATTERSON, MD                                    Date
Defendant

          I have read lhis agreement and have discussed the contents ofthe agreement with my

client. The agreement accurately sets forth the entirety ofthe agreement. I have conveyed all

written offers from the government to the defendant pursuant to Misrouri v. Frye, 132 S. Ct.

1399, 1408-09 (2012). I understand that this agr€ement constitutes a formal plea offer fiom the

government. Any oral discussions between the govemment and me or my client about a plea do

not constitute a plea offer. Any written offer or agreement made before this agreement is no

longer a valid offer by the government and is rescinded. I have discussed with my client the fact

that   if my client is not a citizen or naturalized citizen ofthe United   States, by pleading guilty in

this case, it is virtually certain that my client will be removed from the United States. I concur in

my client's decision to plead guilty as set forth above.




       6-*
SCOTTMCKAY                                                       Date
                                                                        K/ l//           vo/"?

Attorney for the d€fendant




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